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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELMAGIN CAPITAL, LLC             :                   CIVIL ACTION
                                 :
     v.                          :
                                 :
CHAO CHEN, KARL PETTY, ENTERGRID :
LLC and ENTERGRID FUND I LLC     :                   NO. 20-2576

                                         ORDER

       NOW, this 17th day of November, 2020, upon consideration of Plaintiff’s Motion to

Compel Supplemental Responses to Plaintiff’s First Set of Interrogatories to Defendants

(Document No. 19), the defendants’ response, the plaintiff’s reply, and the defendants’

sur-reply, it is ORDERED that the plaintiff’s motion is GRANTED IN PART and DENIED

IN PART.

       IT IS FURTHER ORDERED as follows:

       1.      No later than November 30, 2020, the defendant shall serve upon counsel

for the plaintiff full and complete answers to Interrogatory Nos. 3 through 6 of Plaintiff’s

First Set of Interrogatories to Defendants.

       2.      If the defendants answer an interrogatory by referring to or specifying the

documents responsive to the interrogatory, the defendants shall specifically identify the

documents by reference to Bates numbers.

       3.      To the extent the motion seeks reimbursement for fees and costs incurred

in connection with the preparation and filing of the motion, it is DENIED.



                                                 /s/ TIMOTHY J. SAVAGE J.
